         Case 1:17-cr-00232-EGS Document 78 Filed 05/17/19 Page 1 of 2


                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Crim. No. 17-232 (EGS)
               v.                            :
                                             :
MICHAEL T. FLYNN                             :

                                     NOTICE OF FILING

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this Notice of Filing. On May 16, 2019, the Court

ordered the government to file the publicly-available version of Special Counsel Robert S. Mueller,

III's Report on the Investigation into Russian Interference in the 2016 Presidential Election (“the

Report”) on the public docket in this matter by May 17, 2019. The government is unable to

electronically file the Report via the Case Management/Electronic Case Files (“CM/ECF”) system

because the CM/ECF system only accepts attachments up to 35 megabytes in size; however, the

Report is 135 megabytes in size. The government will submit a hardcopy version of the Report

to chambers today. The Report is also available at https://www.justice.gov/storage/report.pdf.

                                             Respectfully submitted,
                                             JESSIE K. LIU
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 472845

                                                      /s/
                                             Brandon L. Van Grack
                                             National Security Division
                                             U.S. Department of Justice
                                             950 Pennsylvania Ave., NW
                                             Washington, DC 20530

                                             Deborah Curtis
                                             Assistant United States Attorney
                                             555 4th Street NW
                                             Washington, D.C. 20530

Dated: May 17, 2019
         Case 1:17-cr-00232-EGS Document 78 Filed 05/17/19 Page 2 of 2


                                     Certificate of Service

       I, Deborah Curtis, certify that I caused to be served a copy of the foregoing by electronic

means on counsel of record for defendant Michael T. Flynn on May 17, 2019.


                                                      /s/
                                             Deborah Curtis
                                             Assistant United States Attorney




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